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1                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
2                              PENSACOLA DIVISION
3                                    CASE NO.:     3:21-cv-01066
4     STATE OF FLORIDA,
5              Plaintiff,
6     vs.
7     The UNITED STATES OF
      AMERICA, et al.,
8
               Defendants.
9
      __________________________________/
10
11    VIDEOCONFERENCE
      DEPOSITION OF:            JAMES HECKMAN, CORPORATE REPRESENTATIVE
12                              FLORIDA'S DEPARTMENT OF
                                ECONOMIC OPPORTUNITY
13
      TAKEN BY:                 COUNSEL FOR THE DEFENDANT
14
      DATE:                     WEDNESDAY, JUNE 29, 2022
15
      TIME:                     10:20 A.M. - 2:21 P.M.
16
      PLACE:                    OFFICE OF THE ATTORNEY GENERAL
17                              STATE OF FLORIDA
                                PL-01 THE CAPITOL
18                              TALLAHASSEE, FL 32399-1050
19    VIA:                      WEBEX BY CISCO VIDEOCONFERENCING
20    STENOGRAPHICALLY
      REPORTED BY:              COURTNEY N. LANGHOFF, RMR, CRR, FPR-C
21
22
23
24
25    Job No. CS5298240

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1     the program.

2          Q.    What system are you referring to?

3          A.    For Reemployment Assistance, that would be

4     CONNECT.     I'm not familiar with the ins and outs of all

5     of the systems that run the services that a noncitizen

6     may apply for benefits from.

7          Q.    And for CONNECT, just so we have it spelled

8     correctly, is it -- it's "connect" just like the English

9     word to connect two things together?

10         A.    Yes.    C-O-N-N-E-C-T.

11         Q.    Okay.    And in terms of an individual's status

12    as a citizen or a noncitizen, does the CONNECT system

13    break it down any further, in terms of what an

14    individual's particular immigration status is?

15         A.    The only information that CONNECT stores and

16    that we have, as an agency, is -- is what I just

17    described.     It's their citizenship status, whether they

18    are a citizen of the United States or not, and the

19    results from running their information against the SAVE

20    system, which tell us whether or not they're authorized

21    to work in the United States.

22         Q.    Okay.    So beyond that, you would have no way of

23    knowing whether or not the individual was, for example,

24    someone who was issued parole by the federal government?

25         A.    I believe that is correct, that we would not

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1     have that information.

2          Q.    Okay.    So you would also not know whether an

3     individual had submitted an application for asylum,

4     correct?

5          A.    Correct.

6          Q.    And you would not know, for example, where that

7     individual entered the United States?

8          A.    Did you say we wouldn't know where that

9     individual entered?

10         Q.    Right.     Is that accurate?     I mean, correct --

11    correct me if it's not, please.

12         A.    We would not know the -- the port of entry.

13    That is correct.

14         Q.    Okay.    Going beyond Topic 10, do you see any

15    others for which you had to obtain information that you

16    did not already know in order to become knowledgeable

17    about a particular topic?

18         A.    (Witness perused document.)

19               Topic Number 13, "Whether and to what degree

20    there have been any changes in the cost or type of

21    services stated in Topic Number 12 since January 21st,

22    2022."

23         Q.    And how you came to this conclusion?

24         A.    Yes.

25         Q.    Okay.    And the same question that we've gone to

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